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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                      BECKLEY DIVISION


UNITED STATES OF AMERICA,

                               Plaintiff,

v.                                                    CRIMINAL ACTION NO. 5:03-cr-00032-04

MARLAND WILLIS,

                               Defendant.



        REVOCATION OF SUPERVISED RELEASE AND JUDGMENT ORDER

       On March 10, 2011, the Defendant, Marland E. Willis, appeared in person and by counsel,

Troy N. Giatras, for a hearing on the Petition for Warrant or Summons for Offender Under

Supervision submitted by the Defendant’s supervising probation officer. The United States was

represented at the hearing by John L. File, Assistant United States Attorney. United States Probation

Officers Ruth Loftis and Winnie Staats were also present at the hearing.

       On August 7, 2003, the Defendant was sentenced to a term of 54 months imprisonment,

followed by a 3 year term of supervised release. The Defendant began serving the term of

supervised release on January 31, 2007. On July 29, 2009, the Petition for Warrant or Summons

for Offender Under Supervision was filed charging the Defendant with violating certain conditions

of supervised release.

       At the hearing, the Court found that the Defendant had received written notice of the alleged

violations as contained in the Petition, and that the evidence against the Defendant had been
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disclosed. The Court further found that the Defendant appeared, was given the opportunity to

present evidence, and was represented in the proceeding by counsel.

       The Court then found, by a preponderance of the evidence, that the Defendant violated

certain conditions of supervised release as contained in the Petition, specifically:

       1)      Violation of standard unnumbered condition: [The Defendant] shall not commit
               another federal, state, or local crime:

               On June 17, 2009, the defendant was arrested by members of the West Virginia State
               Police, Oak Hill Department, after being found in possession of approximately 20
               grams of cocaine base. The defendant admits to purchasing said crack and has done
               so on other occasion[s].

In making these findings, the Court relied upon the information contained in the Petition, and the

Defendant’s statement that he admits the violation contained in the Petition.

       Having found the Defendant to be in violation of the conditions of supervised release, the

Court REVOKED the Defendant’s supervised release and entered judgment as follows:

       It is the JUDGMENT of the Court that the Defendant be committed to the custody of the

Federal Bureau of Prisons for a term of 15 MONTHS. The defendant shall be given credit for time

served as appropriately calculated by the Bureau of Prisons. This sentence shall run consecutive to

the 151 month sentence imposed in 2:09-cr-00225.

       The Defendant was remanded to the custody of the United States Marshal.




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       IT IS SO ORDERED.

       The Court DIRECTS the Clerk to send a copy of this Order to the Defendant and counsel,

the United States Attorney, the United States Probation Office, and the United States Marshal.

                                            ENTER:         March 15, 2011




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